          Case 5:19-cr-00175-OLG Document 24 Filed 12/21/22 Page 1 of 2                  FILED
                                                                                   December 21, 2022
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS

                             UNITED STATES DISTRICT COURT                                               JU
                                                                               BY: ________________________________
                                                                                                       DEPUTY
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                      '
                                               '
v.                                             '      Case No. SA-19-CR-00175(01)-OLG
                                               '
                                               §
JOSE HERNANDEZ                                 §

                         ORDER REVOKING SUPERVISED RELEASE
                          AND RESENTENCING THE DEFENDANT

       On the 15th day of December 2022 came on to be considered the United States= motion to

revoke the defendant's supervised release [doc. #4]. After due hearing, including consideration

of all statutorily-required factors and revocation policy statements, the Court finds that the

defendant has violated conditions of his supervised release as alleged by the United States, and

that the ends of justice and the best interests of the public will not be served by continuing the

defendant on supervised release. Accordingly, for reasons pronounced at sentencing and set

forth in the motion to revoke,

       IT IS ORDERED by this Court that the United States’ motion to revoke the defendant=s

supervised release [doc. #4] should be GRANTED. The term of supervised release imposed on

February 13, 2017, is revoked, and set aside

       IT IS THEREFORE THE ORDER AND SENTENCE of this Court that the defendant

is remanded to the custody of the Federal Bureau of Prisons to be imprisoned for a term of time

served to run concurrent with the sentence imposed in SA-19-CR-797(1)-OLG with no further

supervised release to follow in this case.

       Monetary sanctions imposed in this case that remain unpaid are reimposed, and such

sanctions are due and payable immediately.
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Signed this 21st day of December 2022.




                                 ORLANDO L. GARCIA
                                 United States District Judge
